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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Project Vote Incorporated,                         No. CV-16-01253-PHX-DLR
10                  Plaintiff,                          ORDER
11   v.
12   Michele Reagan, et al.,
13                  Defendants.
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16            The Court has reviewed Plaintiff's Motion for Voluntary Dismissal. (Doc. 83.) For
17   good cause shown,
18            IT IS ORDERED that the motion to dismiss this Action is GRANTED.
19            IT IS FURTHER ORDER vacating any pending motions and any pending
20   hearings.
21            Dated this 7th day of August, 2017.
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25                                                  Douglas L. Rayes
                                                    United States District Judge
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